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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                             SPARTANBURG DIVISION


 Terria Holcomb, as Personal Represenative       )
 For the Estate of Darius L.J. Holcomb,          )
                                                 )
                                    Plaintiff,   )     DEFENDANTS SPARTANBURG
                                                 )   COUNTY, SPARTANBURG COUNTY
 vs.                                             )    SHERIFF’S OFFICE AND CHUCK
                                                 )     WRIGHT IN HIS CAPACITY AS
 Spartanburg County, Spartanburg County          )    SHERIFF OF THE SPARTANBURG
 Sheriff’s Office, Officer Wesley E. Bennett     )      COUNTY SHERIFF’S OFFICE
 both individually and in his capacity as a      )       ANSWER TO PLAINTIFF’S
 deputy of the Spartanburg County Sheriff’s      )             COMPLAINT
 Office and Chuck Wright, in his capacity as     )
 the Sheriff of the Spartanburg County           )       (JURY TRIAL REQUESTED)
 Sheriff’s Office,                               )
                                                 )
                                 Defendants.     )


       These Defendants, Spartanburg County, Spartanburg County Sheriff’s Office and Chuck

Wright in his capacity as Sheriff of the Spartanburg County Sheriff’s office, above-named,

answering the Complaint of the Plaintiff herein, would respectfully show unto this Honorable

Court that:

                                  FOR A FIRST DEFENSE

       1.     Upon information and belief, these Defendants admit the allegations contained in

              Paragraph One of the Plaintiff’s Complaint.

       2.     As to the allegations contained in Paragraph Two of the Plaintiff’s Complaint, these

              Defendants specifically admit that Spartanburg County is a government

              agency/entity existing under the laws of the State of South Carolina and located in

              Spartanburg County, South Carolina. However, the Defendants lack sufficient

              knowledge and information to form a belief as to the remaining allegations

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         contained in Paragraph Two of the Plaintiff’s Complaint therefore deny same.

   3.    As to the allegations contained in Paragraph Three of the Plaintiff’s Complaint,

         these Defendants specifically admit that the Chuck Wright is Sheriff of Spartanburg

         County and is constitutional officer of the State of South Carolina, oversees his

         office which includes commissioned and non-commissioned personnel acting at the

         pleasure of the Sheriff in order to enforce the laws and code of the County of

         Spartanburg and/or State of South Carolina. However, these Defendants deny the

         remaining allegations contained in Paragraph Three of the Plaintiff’s Complaint

         which are in addition to or inconsistent with these admissions.

   4.    In as much as the allegations contained in Paragraph Four of the Plaintiff’s

         Complaint relate to a Defendant other than these named Defendants, these

         Defendants neither admit nor deny same but demand strict proof thereof.

   5.    These Defendants admit the allegations contained in Paragraph Five of the

         Plaintiff’s Complaint, and would further show Sheriff Wright is a constitutional

         officer of the State of South Carolina.

   6.    In as much as the allegations contained in Paragraph Six of the Plaintiff’s

         Complaint state conclusions of law, these Defendants neither admit nor deny same

         but demand strict proof thereof.

   7.    These Defendants admit the allegations contained in Paragraph Seven of the

         Plaintiff’s Complaint.

   8.    In as much as the allegations contained in Paragraph Eight of the Plaintiff’s

         Complaint state conclusions of law, these Defendants neither admit nor deny same

         but demand strict proof thereof.



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   9.    These Defendants deny the allegations contained in Paragraph Nine of the

         Plaintiff’s Complaint.

   10.   As to the allegations contained in Paragraph Ten of the Plaintiff’s Complaint, these

         Defendants specifically admit that the Plaintiff’s Complaint arises from an incident

         involving Darius Holcomb which occurred in the City of Spartanburg on or about

         February 2, 2023; however, these Defendants deny the remaining allegations

         contained in Paragraph Ten of the Plaintiff’s Complaint which are in addition to or

         inconsistent with these admissions.

   11.   As to the allegations contained in Paragraph Eleven of the Plaintiff’s Complaint,

         these Defendants specifically admit that, upon information and belief, officers from

         the Spartanburg Police Department had dealings with Darius Holcomb prior to

         February 2, 2023, and had attempted to serve an arrest warrant on Holcomb prior

         to that date; however, these Defendants deny the remaining allegations contained

         in Paragraph Eleven of the Plaintiff’s Complaint which are in addition to or

         inconsistent with these admissions.

   12.   These Defendants deny the allegations contained in Paragraph Twelve of the

         Plaintiff’s Complaint.

   13.   These Defendants deny the allegations contained in Paragraph Thirteen of the

         Plaintiff’s Complaint.

   14.   These Defendants deny the allegations contained in Paragraph Fourteen of the

         Plaintiff’s Complaint as stated.

   15.   As to the allegations contained in Paragraph Fifteen of the Plaintiff’s Complaint,

         these Defendants specifically admit that Deputy Shawn Coates sent a text to an



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         officer of the Spartanburg City Police Department and said text speaks for itself;

         further, these Defendants deny the remaining allegations contained in Paragraph

         Fifteen of the Plaintiff’s Complaint which are in addition to or inconsistent with

         these admissions.

   16.   These Defendants deny the allegations contained in Paragraph Sixteen of the

         Plaintiff’s Complaint.

   17.   These Defendants deny the allegations contained in Paragraph Seventeen of the

         Plaintiff’s Complaint.

   18.   These Defendants deny the allegations contained in Paragraph Eighteen of the

         Plaintiff’s Complaint.

   19.   These Defendants deny the allegations contained in Paragraph Nineteen of the

         Plaintiff’s Complaint.

   20.   These Defendants deny the allegations contained in Paragraph Twenty of the

         Plaintiff’s Complaint.

   21.   These Defendants deny the allegations contained in Paragraph Twenty-One of the

         Plaintiff’s Complaint.

   22.   These Defendants deny the allegations contained in Paragraph Twenty-Two of the

         Plaintiff’s Complaint.

   23.   These Defendants deny the allegations contained in Paragraph Twenty-Three of the

         Plaintiff’s Complaint.

   24.   These Defendants deny the allegations contained in Paragraph Twenty-Four of the

         Plaintiff’s Complaint.

   25.   These Defendants deny the allegations contained in Paragraph Twenty-Five of the



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         Plaintiff’s Complaint.

   26.   These Defendants deny the allegations contained in Paragraph Twenty-Six of the

         Plaintiff’s Complaint.

   27.   These Defendants deny the allegations contained in Paragraph Twenty-Seven of

         the Plaintiff’s Complaint.

   28.   These Defendants deny the allegations contained in Paragraph Twenty-Eight of the

         Plaintiff’s Complaint.

   29.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Twenty-Nine of the Plaintiff’s Complaint

         therefore deny same.

   30.   In as much as the allegations contained in Paragraph Thirty of the Plaintiff’s

         Complaint state legal conclusions, these Defendants neither admit nor deny same

         but demand strict proof thereof.

   31.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Thirty-One of the Plaintiff’s Complaint

         therefore deny same.

   32.   These Defendants deny the allegations contained in Paragraph Thirty-Two of the

         Plaintiff’s Complaint.

   33.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Thirty-Three of the Plaintiff’s Complaint

         therefore deny same.

   34.   These Defendants admit the allegations contained in Paragraph Thirty-Four of the

         Plaintiff’s Complaint.



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   35.   As to the allegations contained in Paragraph Thirty-Five of the Plaintiff’s

         Complaint, these Defendants specifically admit that Darius Holcomb had active

         warrants for resisting arrest and a bench warrant for failure to appear issued by a

         competent Court under the laws of the State of South Carolina; however, these

         Defendants lack sufficient knowledge and information to form a belief as to the

         remaining allegations contained in Paragraph Thirty-Five of the Plaintiff’s

         Complaint therefore deny same.

   36.   These Defendants deny the allegations contained in Paragraph Thirty-Six of the

         Plaintiff’s Complaint.

   37.   These Defendants admit the allegations contained in Paragraph Thirty-Seven of the

         Plaintiff’s Complaint.

   38.   These Defendants admit the allegations contained in Paragraph Thirty-Eight of the

         Plaintiff’s Complaint.

   39.   These Defendants admit the allegations contained in Paragraph Thirty-Nine of the

         Plaintiff’s Complaint.

   40.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Forty of the Plaintiff’s Complaint therefore

         deny same.

   41.   Upon information and belief, these Defendants admit the allegations contained in

         Paragraph Forty-One of the Plaintiff’s Complaint.

   42.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Forty-Two of the Plaintiff’s Complaint

         therefore deny same.



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   43.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Forty-Three of the Plaintiff’s Complaint

         therefore deny same.

   44.   Upon information and belief these Defendants admit the allegations contained in

         Paragraph Forty-Four of the Plaintiff’s Complaint.

   45.   Upon information and belief these Defendants admit the allegations contained in

         Paragraph Forty-Five of the Plaintiff’s Complaint.

   46.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Forty-Six of the Plaintiff’s Complaint

         therefore deny same.

   47.   Upon information and belief these Defendants admit the allegations contained in

         Paragraph Forty-Seven of the Plaintiff’s Complaint.

   48.   As to the allegations contained in Paragraph Forty-Eight of the Plaintiff’s

         Complaint, these Defendants specifically admit that a warrant was issued because

         Darius Holcomb failed to register as a sex offender as required by South Carolina

         law and also failed to pay a $100.00 fine as required by South Carolina law;

         however, these Defendants deny the remaining allegations contained in Paragraph

         Forty-Eight of the Plaintiff’s Complaint which are in addition to or inconsistent

         with these admissions.

   49.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Forty-Nine of the Plaintiff’s Complaint

         therefore deny same.

   50.   These Defendants lack sufficient knowledge and information to form a belief as to



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         the allegations contained in Paragraph Fifty of the Plaintiff’s Complaint therefore

         deny same.

   51.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Fifty-One of the Plaintiff’s Complaint

         therefore deny same.

   52.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Fifty-Two of the Plaintiff’s Complaint

         therefore deny same.

   53.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Fifty-Three of the Plaintiff’s Complaint

         therefore deny same.

   54.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Fifty-Four of the Plaintiff’s Complaint

         therefore deny same.

   55.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Fifty-Five of the Plaintiff’s Complaint

         therefore deny same.

   56.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Fifty-Six of the Plaintiff’s Complaint

         therefore deny same.

   57.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Fifty-Seven of the Plaintiff’s Complaint

         therefore deny same.



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   58.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Fifty-Eight of the Plaintiff’s Complaint

         therefore deny same.

   59.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Fifty-Nine of the Plaintiff’s Complaint

         therefore deny same.

   60.   These Defendants lack sufficient knowledge and information to form a belief as to

         the allegations contained in Paragraph Sixty of the Plaintiff’s Complaint therefore

         deny same.

   61.   As to the allegations contained in Paragraph Sixty-One of the Plaintiff’s Complaint,

         these Defendants specifically admit that Officer Dylan Davis sent Deputy Coates

         text messages which speak for themselves; however, these Defendants deny the

         remaining allegations contained in Paragraph Sixty-One of the Plaintiff’s

         Complaint which are in addition to or inconsistent with these admissions.

   62.   As to the allegations contained in Paragraph Sixty-Two of the Plaintiff’s

         Complaint, these Defendants specifically admit that Officer Dylan Davis sent

         Deputy Coates text messages which speak for themselves; however, these

         Defendants deny the remaining allegations contained in Paragraph Sixty-Two of

         the Plaintiff’s Complaint which are in addition to or inconsistent with these

         admissions.

   63.   As to the allegations contained in Paragraph Sixty-Three of the Plaintiff’s

         Complaint, these Defendants specifically admit that Officer Dylan Davis sent

         Deputy Coates text messages which speak for themselves; however, these



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          Defendants deny the remaining allegations contained in Paragraph Sixty-Three of

          the Plaintiff’s Complaint which are in addition to or inconsistent with these

          admissions.

    64.   As to the allegations contained in Paragraph Sixty-Four of the Plaintiff’s

          Complaint, these Defendants specifically admit that Officer Dylan Davis sent

          Deputy Coates text messages which speak for themselves; however, these

          Defendants deny the remaining allegations contained in Paragraph Sixty-Four of

          the Plaintiff’s Complaint which are in addition to or inconsistent with these

          admissions.

    65.   As to the allegations contained in Paragraph Sixty-Five of the Plaintiff’s Complaint,

          these Defendants specifically admit that Officer Dylan Davis sent Deputy Coates

          text messages which speak for themselves; however, these Defendants deny the

          remaining allegations contained in Paragraph Sixty-Five of the Plaintiff’s

          Complaint which are in addition to or inconsistent with these admissions.

    66.   As to the allegations contained in Paragraph Sixty-Six of the Plaintiff’s Complaint,

          these Defendants specifically admit that Officer Dylan Davis sent Deputy Coates

          text messages which speak for themselves; however, these Defendants deny the

          remaining allegations contained in Paragraph Sixty-Six of the Plaintiff’s Complaint

          which are in addition to or inconsistent with these admissions.

    67.   As to the allegations contained in Paragraph Sixty-Seven of the Plaintiff’s

          Complaint, these Defendants specifically admit that on or about February 2, 2023,

          members of the Spartanburg County Sheriff’s Office responded to the Holcomb

          home assist in serving warrants and in order to arrest Darius Holcomb; further,



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          these Defendants specifically admit that some of these officers were members of

          the SWAT team. However, these Defendants deny the remaining allegations

          contained in Paragraph Sixty-Seven of the Plaintiff’s Complaint which are in

          addition to or inconsistent with these admissions.

    68.   These Defendants deny the allegations contained in Paragraph Sixty-Eight of the

          Plaintiff’s Complaint.

    69.   As to the allegations contained in Paragraph Sixty-Nine of the Plaintiff’s

          Complaint, these Defendants specifically admit that on at least two occasions

          chemical munitions were deployed into Darius Holcomb’s bedroom in order to

          obtain his cooperation and surrender for lawful arrests which he refused; however,

          these Defendants deny the remaining allegations contained in Paragraph Sixty-Nine

          of the Plaintiff’s Complaint which are in addition to or inconsistent with these

          admissions.

    70.   These Defendants admit the allegations contained in Paragraph Seventy of the

          Plaintiff’s Complaint.

    71.   As to the allegations contained in Paragraph Seventy-One of the Plaintiff’s

          Complaint, these Defendants specifically admit that on at least two occasions

          chemical munitions were deployed into Darius Holcomb’s bedroom in order to

          obtain his cooperation and surrender for lawful arrests which he refused; however,

          these Defendants deny the remaining allegations contained in Paragraph Seventy-

          One of the Plaintiff’s Complaint which are in addition to or inconsistent with these

          admissions.

    72.   These Defendants admit the allegations contained in Paragraph Seventy-Two of the



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          Plaintiff’s Complaint.

    73.   As to the allegations contained in Paragraph Seventy-Three of the Plaintiff’s

          Complaint, these Defendants specifically admit that the door to Darius Holcomb’s

          bedroom was breached and a K-9 officer was deployed into his room; however,

          these Defendants deny the remaining allegations contained in Paragraph Seventy-

          Three which are in addition to or inconsistent with these admissions.

    74.   As to the allegations contained in Paragraph Seventy-Four of the Plaintiff’s

          Complaint, these Defendants specifically admit that Deputy Coates breached the

          door to Darius Holcomb’s bedroom and Deputy Shane Shehan deployed K-9

          Officer Atlas into the bedroom; further, these Defendants admit that Darius

          Holcomb attempted to stab the K-9 Officer Atlas with a large grilling fork causing

          injury to the K-9 Officer; however, these Defendant deny the remaining allegations

          contained in Paragraph Seventy-Four of the Plaintiff’s Complaint which are in

          addition to or inconsistent with these admissions.

    75.   As to the allegations contained in Paragraph Seventy-Five of the Plaintiff’s

          Complaint, these Defendants specifically admit that after Darius Holcomb began

          stabbing K-9 Officer Atlas in his bedroom with a large grilling fork causing injury

          to the K-9 Officer, Sargent Wesley Bennett discharged his department issued

          service weapon at Darius Holcomb, firing five times and striking Darius Holcomb

          four times; however, these Defendants deny the remaining allegations contained in

          Paragraph Seventy-Five of the Plaintiff’s Complaint which are in addition to or

          inconsistent with these admissions.

    76.   These Defendants admit the allegations contained in Paragraph Seventy-Six of the



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          Plaintiff’s Complaint.

    77.   These Defendants admit the allegations contained in Paragraph Seventy-Seven of

          the Plaintiff’s Complaint.

    78.   These Defendants deny the allegations contained in Paragraph Seventy-Eight of the

          Plaintiff’s Complaint.

    79.   These Defendants deny the allegations contained in Paragraph Seventy-Nine of the

          Plaintiff’s Complaint.

    80.   These Defendants deny the allegations contained in Paragraph Eighty of the

          Plaintiff’s Complaint.

    81.   These Defendants deny the allegations contained in Paragraph Eight-One of the

          Plaintiff’s Complaint.

    82.   These Defendants deny the allegations contained in Paragraph Eighty-Two of the

          Plaintiff’s Complaint.

    83.   These Defendants deny the allegations contained in Paragraph Eighty-Three of the

          Plaintiff’s Complaint.

    84.   These Defendants reallege and reiterate each and every allegation set forth above,

          and not inconsistent herewith, as if fully repeated herein.

    85.   These Defendants deny the allegations contained in Paragraph Eighty-Five of the

          Plaintiff’s Complaint.

    86.   These Defendants deny the allegations contained in Paragraph Eighty-Six of the

          Plaintiff’s Complaint.

    87.   These Defendants deny the allegations contained in Paragraph Eighty-Seven of the

          Plaintiff’s Complaint.



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    88.   These Defendants deny the allegations contained in Paragraph Eighty-Eight of the

          Plaintiff’s Complaint.

    89.   These Defendants deny the allegations contained in Paragraph Eighty-Nine of the

          Plaintiff’s Complaint.

    90.   These Defendants deny the allegations contained in Paragraph Ninety of the

          Plaintiff’s Complaint.

    91.   These Defendants reallege and reiterate each and every allegation set forth above,

          and not inconsistent herewith, as if fully repeated herein.

    92.   These Defendants deny the allegations contained in Paragraph Ninety-Two of the

          Plaintiff’s Complaint.

    93.   These Defendants deny the allegations contained in Paragraph Ninety-Three of the

          Plaintiff’s Complaint.

    94.   These Defendants deny the allegations contained in Paragraph Ninety-Four of the

          Plaintiff’s Complaint.

    95.   These Defendants deny the allegations contained in Paragraph Ninety-Five of the

          Plaintiff’s Complaint.

    96.   These Defendants deny the allegations contained in Paragraph Ninety-Six of the

          Plaintiff’s Complaint.

    97.   These Defendants reallege and reiterate each and every allegation set forth above,

          and not inconsistent herewith, as if fully repeated herein.

    98.   These Defendants deny the allegations contained in Paragraph Ninety-Eight of the

          Plaintiff’s Complaint.

    99.   These Defendants deny the allegations contained in Paragraph Ninety-Nine of the



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           Plaintiff’s Complaint.

    100.   These Defendants deny the allegations contained in Paragraph One Hundred of the

           Plaintiff’s Complaint.

    101.   These Defendants reallege and reiterate each and every allegation set forth above,

           and not inconsistent herewith, as if fully repeated herein.

    102.   These Defendants deny the allegations contained in Paragraph One Hundred Two

           of the Plaintiff’s Complaint.

    103.   These Defendants deny the allegations contained in Paragraph One Hundred Three

           of the Plaintiff’s Complaint.

    104.   These Defendants deny the allegations contained in Paragraph One Hundred Four

           of the Plaintiff’s Complaint.

    105.   These Defendants deny the allegations contained in Paragraph One Hundred Five

           of the Plaintiff’s Complaint.

    106.   These Defendants deny the allegations contained in Paragraph One Hundred Six of

           the Plaintiff’s Complaint.

    107.   These Defendants deny the allegations contained in Paragraph One Hundred Seven

           of the Plaintiff’s Complaint.

    108.   These Defendants reallege and reiterate each and every allegation set forth above,

           and not inconsistent herewith, as if fully repeated herein.

    109.   These Defendants deny the allegations contained in Paragraph One Hundred Nine

           of the Plaintiff’s Complaint.

    110.   These Defendants deny the allegations contained in Paragraph One Hundred Ten

           of the Plaintiff’s Complaint.



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    111.   These Defendants reallege and reiterate each and every allegation set forth above,

           and not inconsistent herewith, as if fully repeated herein.

    112.   These Defendants deny the allegations contained in Paragraph One Hundred

           Twelve of the Plaintiff’s Complaint.

    113.   These Defendants deny the allegations contained in Paragraph One Hundred

           Thirteen of the Plaintiff’s Complaint.

    114.   These Defendants deny the allegations contained in Paragraph One Hundred

           Fourteen of the Plaintiff’s Complaint.

    115.   These Defendants deny the allegations contained in Paragraph One Hundred

           Fifteen of the Plaintiff’s Complaint.

    116.   These Defendants reallege and reiterate each and every allegation set forth above,

           and not inconsistent herewith, as if fully repeated herein.

    117.   These Defendants deny the allegations contained in Paragraph One Hundred

           Seventeen of the Plaintiff’s Complaint.

    118.   These Defendants deny the allegations contained in Paragraph One Hundred

           Eighteen of the Plaintiff’s Complaint.

    119.   These Defendants deny the allegations contained in Paragraph One Hundred

           Nineteen of the Plaintiff’s Complaint.

    120.   These Defendants deny the allegations contained in Paragraph One Hundred

           Twenty of the Plaintiff’s Complaint.

    121.   These Defendants reallege and reiterate each and every allegation set forth above,

           and not inconsistent herewith, as if fully repeated herein.

    122.   These Defendants deny the allegations contained in Paragraph One Hundred



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           Twenty-Two of the Plaintiff’s Complaint.

    123.   These Defendants deny the allegations contained in Paragraph One Hundred

           Twenty-Three of the Plaintiff’s Complaint.

    124.   These Defendants deny the allegations contained in Paragraph One Hundred

           Twenty-Four of the Plaintiff’s Complaint.

    125.   These Defendants reallege and reiterate each and every allegation set forth above,

           and not inconsistent herewith, as if fully repeated herein.

    126.   These Defendants deny the allegations contained in Paragraph One Hundred

           Twenty-Six of the Plaintiff’s Complaint.

    127.   These Defendants deny the allegations contained in Paragraph One Hundred

           Twenty-Seven of the Plaintiff’s Complaint.

    128.   These Defendants deny the allegations contained in Paragraph One Hundred

           Twenty-Eight of the Plaintiff’s Complaint.

    129.   These Defendants deny the allegations contained in Paragraph One Hundred

           Twenty-Nine of the Plaintiff’s Complaint.

    130.   These Defendants reallege and reiterate each and every allegation set forth above,

           and not inconsistent herewith, as if fully repeated herein.

    131.   These Defendants deny the allegations contained in Paragraph One Hundred

           Thirty-One of the Plaintiff’s Complaint.

    132.   These Defendants deny the allegations contained in Paragraph One Hundred

           Thirty-Two of the Plaintiff’s Complaint.

    133.   These Defendants deny the allegations contained in Paragraph One Hundred

           Thirty-Three of the Plaintiff’s Complaint.



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    134.   These Defendants deny the allegations contained in Paragraph One Hundred

           Thirty-Four of the Plaintiff’s Complaint.

                              FOR A SECOND DEFENSE

    135.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    136.   These Defendants allege that the Complaint of the Plaintiff fails to state a claim to

           and, therefore the Plaintiff’s Complaint should be dismissed pursuant to Rule 12(b)(6)

           of the Federal Carolina Rules of Civil Procedure.

                               FOR A THIRD DEFENSE

    137.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    138.   These Defendants assert all rights and defenses under §15-78-30 (f) & (g) of the

           South Carolina Code of Laws; therefore, the Plaintiff’s Complaint should be

           dismissed.

                             FOR A FOURTH DEFENSE

    139.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    140.   This Defendant asserts all rights and defenses under §15-78-60; including but not

           limited to subsections, 1, 2, 3, 4, 5, 17, 18, 19 and 25 of the South Carolina Code

           of Laws therefore the Plaintiff’s Complaint should be dismissed.

                               FOR A FIFTH DEFENSE

    141.   These Defendants adopt and reallege each and every allegation set forth above, and


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           not inconsistent herewith, as if fully repeated herein.

    142.   These Defendants assert all defenses and immunities pursuant to §15-78-70 of the

           South Carolina Code of Laws; therefore, Plaintiff’s Complaint should be dismissed.

                               FOR A SIXTH DEFENSE

    143.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    144.   These Defendants assert all rights and defenses under §15-78-100 of the South

           Carolina Code of Laws; therefore, the Plaintiff’s Complaint should be dismissed.

                             FOR A SEVENTH DEFENSE

    145.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    146.   These Defendants assert all defenses and immunities pursuant to §15-78-110 of the

           South Carolina Code of Laws and, therefore, the Plaintiff’s Complaint should be

           dismissed.

                             FOR AN EIGHTH DEFENSE

    147.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    148.   These Defendants assert all rights and defenses under §15-78-120 of the South

           Carolina Code of Laws; including, but not limited to, the limitation on damages and

           prohibition against punitive damages; therefore, the Plaintiff’s Complaint should

           be dismissed.

                               FOR A NINTH DEFENSE



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    149.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    150.   This Defendant asserts all defenses and immunities pursuant to §15-78-200 of the

           South Carolina Code of Laws; therefore, Plaintiff’s Complaint should be dismissed.

                                   FOR A TENTH DEFENSE

    151.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    152.   These Defendants hereby assert that they are entitled to qualified immunity under

           Harlow v. Fitzgerald, 457 U.S. 800 (1982), and therefore, the Plaintiff's Complaint

           should be dismissed.

                               FOR AN ELEVENTH DEFENSE

    153.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    154.   These Defendants assert all immunities under the 11th Amendment of the United

           States Constitution; therefore, the Plaintiffs’ Amended Complaint should be

           dismissed.

                             FOR A TWELFTH DEFENSE

    155.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    156.   These Defendants would show that in regard to the allegations of wrongdoing in

           their official capacity, such actions were taken in good faith, within the scope of

           their official duties, which good faith is a bar to one or more of the Plaintiff’s causes

           of action against these Defendants. Therefore, the Plaintiff’s Complaint should be

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           dismissed.

                           FOR A THIRTEENTH DEFENSE

    157.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    158.   These Defendants move to strike the Plaintiff’s claims for intentional infliction of

           emotional distress and punitive damages as those claims are not permitted under

           §15-78-30 (f) &(g) and §15-78-120 of the South Carolina Code of Laws therefore

           pursuant to Rule 12(f) of the Federal Rules of Civil Procedure, these claims should

           be dismissed.

                           FOR A FOURTEENTH DEFENSE

    159.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    160.   These Defendants assert that they were never deliberately indifferent to any of the

           Darius Holcomb’s needs or rights and, therefore, the Plaintiff’s Complaint should

           be dismissed.

                            FOR A FIFTEENTH DEFENSE

    161.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    162.   These Defendants would show that their actions with regard to the Plaintiff was

           based upon an objectively reasonable right based upon the existing law, which

           objective reasonable rights is a complete bar to Plaintiff’s causes of actions against

           these Defendants. Therefore, Plaintiff’s Complaint should be dismissed.



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                           FOR A SIXTEENTH DEFENSE

    163.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    164.   These Defendants assert that they are not “persons” for purposes under 42 USC

           §1983, therefore, the Plaintiff’s Complaint should be dismissed.

                         FOR A SEVENTEENTH DEFENSE

    165.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    166.   This Defendant asserts that at all times relevant hereto, in performance and non-

           performance of the alleged acts in the Complaint did not perform any acts, or fail

           to perform any acts in bad faith, and in a malicious manner with corrupt motives,

           or with deliberate indifference, and therefore this Defendant is immune from suit.

                         FOR AN EIGHTEENTH DEFENSE

    167.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    168.   These Defendants assert as an affirmative defense the Public Duty Rule under

           South Carolina law.

                          FOR A NINETEENTH DEFENSE

    169.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    170.   These Defendants assert any other right, immunity or defense under the South

           Carolina Tort Claims Act (§ 15-78-10 et seq. of the South Carolina Code of Laws)

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           which was not previously raised herein as an affirmative defense to the Plaintiff’s

           Complaint; therefore, the Plaintiff’s Complaint should be dismissed.

                           FOR A TWENTIETH DEFENSE

    171.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    172.   At all times relevant to the Complaint’s allegations these Defendants necessarily

           were acting in defense and used no more force than was reasonably necessary for

           the protection of his person or others. Plaintiff’s affirmative acts on the day in

           question constitute mitigating factors against the recovery sought.

                         FOR A TWENTY-FIRST DEFENSE

    173.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    174.   These Defendants allege that if any injuries and damages were sustained by the

           Plaintiff, said injuries and damages were caused by the greater negligence and/or

           willfulness of the Plaintiff, which exceeds the negligence and/or willfulness, if any,

           on the part of these Defendant, without which greater negligence and/or willfulness

           on the part of the Plaintiff, said alleged injury or damage would not have occurred or

           been sustained and for that reason, the Plaintiff is totally barred from recovery.

                        FOR A TWENTY-SECOND DEFENSE

    175.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    176.   Alternatively, these Defendants allege that if any injuries and damages were sustained

           by the Plaintiff, said injuries and damages were caused by the negligence and/or

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           willfulness of the Plaintiff, combining, concurring, and contributing with the

           negligence and/or willfulness, if any, on the part of these Defendants and for that

           reason the Plaintiff's recovery, if any, shall be reduced in proportion to the amount of

           his own negligence.

                           FOR A TWENTY-THIRD DEFENSE

    177.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    178.   These Defendants allege that any personal injuries or property damages sustained by

           the Plaintiff, as alleged in the Complaint, were due to and caused by the sole acts of

           negligence, recklessness and wantonness on the part of the Plaintiff and that the sole

           negligence, recklessness and wantonness of the Plaintiff was the proximate cause of

           his injuries.

                           FOR A TWENTY-FOURTH DEFENSE

    179.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    180.   These Defendants allege that the Plaintiff knew or should have known of the dangers

           attendant in this action and also knew or should have known that by engaging in this

           conduct, he assumed the risk of being involved in the accident in the fashion in which

           he was. Nevertheless, the Plaintiff freely and voluntarily engaged in this conduct even

           though he knew or should have known of the attendant risks of doing so and that in

           so doing, he assumed the risk of being involved in the accident and sustained the

           injuries and damages for which he is now complaining. Accordingly, his claim is

           barred.

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                         FOR A TWENTY-FIFTH DEFENSE

    181.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    182.   That any force used by these Defendants was justified, reasonable, and necessary

           under the circumstances and these Defendants herein plead reasonable use of force

           as a bar and/or defense to the Plaintiff’s claim.

                         FOR A TWENTY-SIXTH DEFENSE

    183.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    184.   These Defendants plead and assert the South Carolina Tort Claims Act as a

           complete and absolute defense and/or bar to the Plaintiff’s claim. That specifically,

           but without limitation, these Defendants plead and assert all statutes of limitations,

           conditions of recovery, limitations on recovery, exclusions from liability,

           immunities from liability and caps and/or limits on damages as are set forth herein.

                       FOR A TWENTY-SEVENTH DEFENSE

    185.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    186.   That at all times alleged in the Plaintiff’s Complaint, these Defendants were

           performing functions and actions which were reasonably consistent with the rights

           of the Plaintiff and these Defendants are entitled to immunity as a matter of law,

                        FOR A TWENTY-EIGHTH DEFENSE

    187.   These Defendants adopt and reallege each and every allegation set forth above, and


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           not inconsistent herewith, as if fully repeated herein.

    188.   That at all times alleged in the Plaintiff’s Complaint these Defendants acted within

           proper bounds of their discretion and these Defendants plead and assert

           discretionary immunity as a complete and absolute defense and/or bar to the

           allegations of the Plaintiff’s Complaint.

                         FOR A TWENTY-NINTH DEFENSE

    189.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    190.   These Defendants plead and assert immunity from liability for any alleged policy

           and/or custom and/or for any alleged claims based on Respondeat Superior under

           Monell v. Department of Social Services, 436 U.S. 1658 (1978).

                            FOR A THIRTIETH DEFENSE

    191.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    192.   These Defendants would show that their actions with regard to the Plaintiff were

           based upon an objectively reasonable right based upon the existing law, which

           objective reasonable rights are a complete bar to the Plaintiff’s causes of actions

           against these Defendants. Therefore, Plaintiff’s Complaint should be dismissed.

                          FOR A THIRTY-FIRST DEFENSE

    193.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    194.   These Defendants would show that in acting with regard to the Plaintiff, they had

           no knowledge that any such actions were in violation of any of the Plaintiff’s clearly

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           established constitutional rights (which violations are specifically denied) which

           lack of knowledge is a complete bar in one or more of the Plaintiff’s causes of

           actions against these Defendants. Therefore, the Plaintiff’s Complaint should be

           dismissed.

                         FOR A THIRTY-SECOND DEFENSE

    195.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    196.   These Defendants would show that their actions with regard to the Plaintiff were

           based upon an objectively reasonable reliance upon existing law, which objectively

           reasonable reliance is a complete bar to the Plaintiff’s causes of action against these

           Defendants.

                         FOR A THIRTY-THIRD DEFENSE

    197.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    198.   These Defendants assert absolute immunity with regard to the Plaintiff’s claim;

           therefore, the Plaintiff’s Complaint should be dismissed.

                         FOR A THIRTY-FOURTH DEFENSE

    199.   These Defendants adopt and reallege each and every allegation set forth above, and

           not inconsistent herewith, as if fully repeated herein.

    200.   These Defendants assert Sovereign Immunity as an affirmative defense.

                          FOR A THIRTY-FIFTH DEFENSE

    201.   These Defendants adopt and reallege each and every allegation set forth above, and


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                not inconsistent herewith, as if fully repeated herein.

       202.     To the extent it applies and creates a private cause of action, these Defendants plead

                all rights and defenses under the Americans with Disabilities Act.


       WHEREFORE, these Defendants above-named, having answered the Complaint of the

Plaintiff herein, respectfully requests the Court to dismiss the Plaintiff’s Complaint, for costs in

this action, and for such other and further relief as the Court may deem just and proper.

                                                    Respectfully Submitted,


                                                   s/Charles F. Turner, Jr.____________
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                                                   SPARTANBURG COUNTY SHERIFF’S
                                                   OFFICE AND SHERIFF CHUCK WRIGHT



March 6, 2024




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